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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

LANCE BROWN
                                                        CIVIL ACTION
VERSUS
                                                        NO. 16-322-JJB
PORTFOLIO RECOVERY ASSOCIATES,
LLC, ET AL.

                                        ORDER

       Considering the notice (doc. 19) to dismiss Portfolio with prejudice;

       IT IS ORDERED that the Portfolio Recovery Associates, LLC be dismissed with

prejudice from this action

       Signed in Baton Rouge, Louisiana, on November 7, 2016.




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                                     JUDGE JAMES J. BRADY
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                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA
